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     8                      UNITED STATES DISTRICT COURT
     9                    CENTRAL DISTRICT OF CALIFORNIA
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    11 NAVIGATORS SPECIALTY                    Case No. 8:17-cv-00991-JLS-KESx
       INSURANCE COMPANY, a New
    12 York Corporation,
    13              Plaintiff,                 JUDGMENT
    14        v.
    15 CALIFORNIA BANK AND TRUST;
       JP MORGAN CHASE BANK, N.A., a
    16 National Banking Association;
    17              Defendants.
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Case 8:17-cv-00991-JLS-KES Document 124 Filed 10/01/21 Page 2 of 2 Page ID #:2991



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               Pursuant to the Court’s September 27, 2021 Order granting Defendant
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         California Bank & Trust’s Motion for Summary Judgment (Doc. 109) and denying
     3
         Plaintiff Navigators Specialty Insurance Company’s Motion for Summary
     4
         Judgment (Doc. 112), the Court hereby ENTERS judgment in favor of Defendant
     5
         California Bank & Trust and against Plaintiff Navigators Specialty Insurance
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         Company on all claims. Pursuant to Federal Rule of Civil Procedure 54(d)(1) and
     7
         Local Rules 54-2 and 54-3, Defendant California Bank & Trust shall recover its
     8
         costs incurred herein.
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    10 Dated: October 01, 2021

    11                                               HON. JOSEPHINE L. STATON
                                                     UNITED STATES DISTRICT JUDGE
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